Case 2:05-cv-02288-SHI\/|-dkv Document 7 Filed 08/01/05 Page 1 of 2 Page|D 5

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IN THE UNITED sTATES DISTRICT COURT HLED B¥ """'
wESTERN DISTRICT oF TENNESSEE _
WESTERN DIvISIoN 05 AUG-l AH|U- 32

 

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LAWRENCE GILPIN, CEBKU$EEEKHQOMH
,W.l'D 'CJ: r~'§i~__:i»{??d$
Plaintiff,
vS' No. 05-2288~Mav

JO ANNE B. BARNHAR'I‘,
Commissioner of Social Security,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is plaintiff’s April 20, 2005, complaint
for review of a Social Security decision. This matter is hereby
referred to the United States Magistrate Judge for a report and
recommendation. Any exceptions to the magistrate’s report shall
be made Within ten (lO) days of her report, setting forth
particularly those portions of the order excepted to and the
reasons for the exceptions.

IT IS SO ORDERED thislzq “Lday of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Th`¢s document entered on the docket sheet in compliance
with eula 53 and/or re(a) FncP on '/'€

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02288 Was distributed by faX, mail, cr direct printing on
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Lester T. Wener
MCWHORTER & WENER
100 N. Main Street

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Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

